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EXHIBIT F
Case 3:09-cv-05191-CRB Document127-6 Filed 01/21/11 Page 2of8

Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]

Sent: Monday, June 14, 2010 10:31 AM

To: Brenner, Wendy

Subject: RE: Enyart Preliminary Injunction Proposed Order

Attachments: 057-0_P_Letter_ Pl Agreement.pdf; 057-1_P_PO_Pl_Agreement.pdf
Hi Wendy,

Your two further changes are fine.

Last time, our folks submitted the attached proposed order and cover letter, and also provided the court a chambers copy
per the local rule. We can take care of it, again. One change to the cover letter would be that at the time we prepared the
prior proposed order, | think there was some ambiguity as to the scope of the bond, which the cover letter addressed.
Also, | assume that the language in the second paragraph of the cover letter about non-acquiescence/preserving the right
to appeal was at NCBE's request, and leave up to you whether NCBE wishes to include it in this cover letter.

Let me know, and I'll get the documents you sent formatted as a proposed order.

Thanks,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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message and its attachments, if any.

From: Brenner, Wendy [mailto:BRENNERWJ@cooley.com]
Sent: Monday, June 14, 2010 10:01 AM

To: Anna Levine

Subject: RE: Enyart Preliminary Injunction Proposed Order

Hi Anna — Thanks for your mark up. Your changes were generally fine ~ | made two minor changes, which |
suspect will not be problematic. | am happy to discuss them if you have questions.

Clean, revised draft + redline attached.
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Remind me...what did we do last time? Did you guys submit the proposed order to the Court with a cover
letter?

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 « Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.org]

Sent: Thursday, June 10, 2010 1:47 PM

To: Brenner, Wendy

Subject: RE: Enyart Preliminary Injunction Proposed Order

| wanted to add one further item that | believe we should include: language regarding the supplemental bond. |
have numbered the attached draft and added the following:

Plaintiff shall post an additional bond in the amount of $5,000 to be filed with the Clerk of the Court by
, 2010, and deposited into the registry of the Court.

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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attachments, if any.

-----Original Message-----

From: Anna Levine

Sent: Thursday, June 10, 2010 1:38 PM

To: ‘Brenner, Wendy’

Subject: Enyart Preliminary Injunction Proposed Order

Dear Wendy,

Attached are my proposed revisions to the preliminary injunction order that you
previously circulated. | made a few changes to add provisions from the June 4,
2010 minute order of the court, and to better correspond the MPRE and MBE sections.
Case 3:09-cv-05191-CRB Document127-6 Filed 01/21/11 Page4of8

Let me know if you have any questions. | need to leave at 3pm today, but am available
by telephone before that time, as well as all day tomorrow.

Thanks,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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DISABILITY RIGHTS ADVOCATES
2001 CENTER STREET, THIRD FLOOR
BERKELEY, CALIFORNIA 94704-1204

(510) 665-8644

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1 || LAURENCE W. PARADIS (CA Bar No. 122336)
iperadis@draledalLor

2 || ANNA LEVINE (CA Bar No. 227881)
alevine@cralegal.or

3 || KARLA GILBRIDE (CA BAR NO. 264118)
kgiloride(@dralegal.or

4 || DISABILITY RIGHTS ADVOCATES

2001 Center Street, Third Floor

5 || Berkeley, CA 94704

Telephone: (510) 665-8644

6 || Facsimile: (510) 665-8511

, TTY: (510) 665-8716

SCOTT C. LABARRE (admitted pro hac vice)
8 || LABARRE LAW OFFICES, P.C.

1660 S. Albion Street, Ste 918

9 || Denver, CO. 80222

Telephone: (303) 504-5979

10 || Fax: (303) 757-3640
slabarre@labarrelaw.com

DANIEL F. GOLDSTEIN (admitted pro hac vice)
12 || dfg@browngold.com

MEHGAN SIDHU (admitted pro hac vice)

13 || ms@browngeild.com

BROWN, GOLDSTEIN & LEVY, LLP

14 || 120 E. Baltimore St., Suite 1700

Baltimore, MD 21202

15 || Telephone: (410) 962-1030

Fax: (410) 385-0869

17 || Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Enyart v. National Conference of Bar Examiners, et al., Case No.: C09-05191 CRB
[PROPOSED] ORDER FOR PRELIMINARY INJUNCTION

>.

DISABILITY RIGHTS ADVOCATES
2001 CENTER STREET, THIRD FLOOR
BERKELEY, CALIFORNIA 94704-1204

(510) 665-8644

Se 3:09-cv-05191-CRB Document127-6 Filed 01/21/11 Page 6of8
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STEPHANIE ENYART Case NO. C09-05191 CRB
[PROPOSED] ORDER
Plaintiff, FOR PRELIMINARY INJUNCTION
V. Judge: Hon. Charles R. Breyer

Action Filed: January 15, 2010
NATIONAL CONFERENCE OF BAR
EXAMINERS, INC., ACT, INC., AND
THE STATE BAR OF CALIFORNIA,

Defendants.

1. NCBE shall provide Ms. Enyart with the following accommodations on the March
2010 administration of the MPRE:

(a) | Double the standard time

(b) Aprivate room

(c) One five minute break every hour

(d) Ascribe to fill in the answers and

(e) |The exam loaded onto a laptop computer equipped with JAWS and
ZoomText software

Within two business days of this Order, NCBE shall request ACT to provide Ms.
Enyart with sufficient time before the commencement of the test to attach the
peripherals and customize the JAWS and ZoomText settings and NCBE shall advise
the plaintiff of ACT’s response or any lack thereof within five business days thereafter.

Additionally, NCBE shall permit Ms. Enyart to use all of the following during the
examination as accommodations, all of which shall be brought to the examination by

Ms. Enyart:

~h
ee

An ergonomic keyboard

A trackball mouse

A large monitor

Her own lamp to control lighting conditions
Sunglasses

A yoga mat

Large print digital clock

Migraine medication

IN A Te tn nn,
~~ See eae

3

Enyart v. National Conference of Bar Examiners, et al., Case No.: C09-05191 CRB
[PROPOSED] ORDER FOR PRELIMINARY INJUNCTION

DISABILITY RIGHTS ADVOCATES
2001 CENTER STREET, THIRD FLooR
BERKELEY, CALIFORNIA 94704-1204

(510) 665-8644

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| | The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any storage
2 || devices or storage mechanisms and NCBE does not guarantee the interoperability of

such devices with the computer it provides. The examination shall be administered by

4
ACT with the above accommodations pursuant to the Stipulation Re: Voluntary
5
Dismissal Without Prejudice of Defendant ACT, Inc. filed with the Court on November
6
25, 2009.
7
g 2. With respect to the February 2010 administration of the California Bar exam,

9 || NCBE shall provide the State Bar of California, Committee of Bar Examiners with the
10 || MBE loaded onto a laptop computer equipped with JAWS and ZoomText software.
11 | Decisions with respect to the administration of the examination shall rest with the State

Bar of California, Committee of Bar Examiners. However, in the Stipulation Regarding

Dismissal Without Prejudice of Defendant State Bar of California and Order Thereon in
this Action, the State Bar of California agreed to furnish the accommodations requested
by Ms. Enyart on the MBE portion of the February 2010 California bar examination if the
Court in this action determined that such accommodations were required.
IT IS HEREBY ORDERED.

20 || Dated , 2010

1
22 Charles R. Breyer
United States District Court Judge

Enyart v. National Conference of Bar Examiners, et al., Case No.: C09-05191 CRB
[PROPOSED] ORDER FOR PRELIMINARY INJUNCTION

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_ =. Case3:09-cv-05191-CRB Document57  Filed02/03/10 Paget of 1

Daniel F. Goidstein
dfa@browngold.com

February 3, 2010

Hon. Charles R. Breyer

Judge, United States District Court
for the Northern District of California
450 Golden Gate Avenue

San Francisco, CA 94102

Re: Enyart v. Nat’l Conference of Bar Examiners
C09-05191 CRB

Dear Judge Breyer:

Attached please find proposed language for the portion of the preliminary
injunction order that addresses the logistics with respect to the furnishing of the
accommodations sought by Ms. Enyart. The parties have agreed on this proposed
language. We are copying Magistrate Judge Chen so that he will know the parties were
able to agree on this portion of the order without assistance. We assume that the
portion of the order directing the Plaintiff to post bond will be addressed by the Court,
but the plaintiff has begun to make the arrangements to have a check available to post
to the registry of the court.

Although, at the Court's direction and pursuant to the Court's January 29, 2010
Minute Order, counsel for NCBE has met and conferred with Counsel for Ms. Enyart as
to the specific terms of the injunction, NCBE does not agree to, consent to, or otherwise
acquiesce in the issuance or entry of the preliminary injunction. Thus, this letter is
without prejudice to any rights that the NCBE may have to appeal or otherwise
challenge the Court's ruling on Ms. Enyart’s motion for preliminary injunction and NCBE
reserves all such rights.

Thank you for your attention to this matter.

Very truly yours,
/s/
Daniel F. Goldstein
DFG/tt
Enclosure

cc: Magistrate Judge Edward M. Chen (w/ enclosure)
Gregory C. Tenhoff, Esquire (w/ enclosure)
